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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


REALTIME DATA LLC d/b/a IXO,

                     Plaintiff,        C.A. No. 17-1544-GMS

              v.

PURE STORAGE, INC.,

                     Defendant.



 PLAINTIFF REALTIME DATA LLC’S ANSWERING BRIEF IN OPPOSITION TO
DEFENDANT’S MOTION (D.I. 11) TO DISMISS FOR FAILURE TO STATE A CLAIM




January 25, 2018                        BAYARD, P.A.

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       Under Alice step 1, the claims at issue are not abstract, but rather are limited only to a

particularized subset of the non-abstract realm of digital-data compression. Instead of focusing on

the entirety of the claims, Pure Storage, Inc. (“Pure Storage”) relies on a stripped-down summary

of the inventions and overstatements regarding the §101 legal standards. The claims are not “silent

as to how” to practice the invention, as Pure Storage asserts, but rather spell out specific structures

and processes (e.g., using state machine, data accelerator, performing analysis that is not based

solely on a descriptor, etc.) to improve the storage or transmission of digital data. Indeed, the

claims provide specific technological solutions that improve computer capabilities—e.g.,

improving the ability to more effectively compress/decompress digital data so as to increase the

capacity of a computer system to store more data or to transfer data more efficiently.

       Pure Storage also cannot satisfy its burden under Alice step 2. The claim elements require

much more than well-understood, routine, conventional activities for solving the then-existing

problems in the field of digital-data compression. Pure Storage’s argument that the claims are

implemented with “generic” or “conventional” components is factually and legally incorrect.

       The Asserted Patents and related patents have gone through §101 scrutiny before. For

example, only a few months ago, a court in Texas ruled that the asserted ‘728 and ‘908 Patents

(and Pat. No. 8,717,204) are “inventive” and “directed to patent eligible subject matter” because

they disclose “specific improvement[s] in computer capabilities.”1,2 Pursuant to the Texas court’s

ruling, any reasonable view of the claims makes clear they are patent-eligible.3

I.     RELEVANT FACTUAL AND PROCEDURAL BACKGROUND
1
  Ex. 1: Realtime Data LLC v. Carbonite, Inc., Case No. 17-cv-121, D.I. 70 (E.D. Tex. Sept. 20,
2017), e.g., at 7, 10, 15, 16, 20. All emphasis in quotes are added in this brief.
2
  The other two patents asserted in this case are related to the patents the Texas court held to be
patent eligible—the asserted ‘203 Patent is related to the asserted ‘728 Patent, and the asserted
‘751 Patent is related to the ‘204 Patent.
3
  A defendant in a related case pending in this District—Realtime Data LLC v. Commvault
Systems, Inc. (Case No. 17-cv-925-GMS)—also filed a motion to dismiss under §101, on August
31, 2017. Realtime filed its opposition to that motion on October 5, 2017.

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          A.     The Asserted Patents Claim Digital-Data Compression Inventions Aimed
                 Toward Solving Problems Unique to Digital Computer Data

          The Patents deal specifically with problems arising in the realm of compressing “[d]iffuse

digital data” which is “a representation of data that ... is typically not easily recognizable to

humans in its native form.”4 The ’728 and ‘203 Patents are directed to systems of digital-data

compression/decompression utilizing multiple encoders/decoders (e.g., content dependent, content

independent) to compress/decompress data blocks based on an analysis of the specific data

content/type. (’728 Patent at Abstract, 3:59–62.) The’908 Patent is directed to systems of digital

data compression utilizing a plurality of different encoders for accelerated storage and retrieval of

data. (’908 Patent at Abstract, 2:58–60). The ’751 Patent is directed to systems for providing

accelerated transmission of digital data and effectively increasing the bandwidth of the

communication channel and/or reducing the latency of transmission, and uses, e.g., a state

machine. (’751 Patent at Abstract, 5:33–46, claim 1.)

          B.     Prior Court Orders Confirm Patent Eligibility Of The Asserted Patents

          In a detailed, twenty-two-page opinion issued on September 20, 2017, a court in Texas

ruled that the ‘728 and ‘908 Patents asserted here, as well as Pat. No. 8,717,204 (‘204 Patent), are

patent eligible. (Ex. 1.) The other two of the four asserted patents are related to the patents that the

Texas court ruled were patent-eligible—the asserted ‘203 Patent is related to the asserted ‘728

Patent, and the asserted ‘751 Patent is related to the ‘204 Patent. The Texas court rejected the same

arguments advanced by Pure Storage here, including that the patents are purportedly about

“generic components” (e.g., Ex. 1 at 9, 11, 15, 17) or that they merely “describe function or

outcome without any specificity” (e.g., id. at 12, 17, 20, 21). The court held that the patents are

directed to patent eligible subject matter, and that they are also inventive. (Id.)


4
    E.g., ’908 Patent at 1:22-45; ’728 Patent at 1:52–66; ‘751 Patent at 3:38-47.

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       In addition to that ruling, two judges in Texas also denied two other §101 motions

involving two of the three patent families at issue here.5 In November 2015, Magistrate Judge Love

held that “an assessment of the claims at issues—by a careful reading of the claims themselves—

does not clearly reveal that the patents are abstract.” (Ex. 2.) In January 2016, District Judge

Schroeder adopted this ruling and further held that under Realtime’s view, namely, that the claims

are directed to the compression of digital data, the argument that the patents are directed to an

abstract idea “would fail” because the patents “provide technological solutions to problems arising

specifically in the realm of computer technology.” (Ex. 3.)

II.    LEGAL STANDARDS

       Under 35 U.S.C. §101, patent eligibility is to be construed broadly, and the exceptions are

narrow. One exception is for “abstract ideas.” The Supreme Court warns against interpreting the

exception too broadly, as that could “swallow all of patent law” because “[a]t some level, ‘all

inventions ... embody, use, reflect, rest upon, or apply laws of nature, natural phenomena, or

abstract ideas.’” Alice Corp. v. CLS Bank Int’l, 134 S. Ct. 2347, 2354 (2014). The two step analysis

of Alice is detailed below. “At the motion to dismiss stage, a patent claim can be found directed

towards patent-ineligible subject matter if the only plausible reading of the patent must be that

there is clear and convincing evidence of ineligibility.” JSDQ Mesh Techs. LLC v. Fluidmesh

Networks, LLC, 2016 WL 4639140, at *1 (D. Del. Sept. 6, 2016).

III.   PURE STORAGE FAILS TO DEMONSTRATE THAT ANY OF THE CLAIMS
       OF THE FOUR PATENTS-IN-SUIT ARE INVALID UNDER §101.

       A.      Pure Storage Cannot Clearly And Convincingly Establish That The Patent
               Claims Are Directed To An Abstract Idea Under Alice Step 1.



5
  Realtime Data LLC v. Actian Corp. et al. (E.D. Tex. Case No. 15-cv-463) involved the ‘908
Patent asserted in this case, as well as Pat. Nos. 7,378,992 and 8,643,513, which are related to
(and share identical written description with) the ‘728 and ‘203 Patents asserted here.

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       The threshold inquiry of the §101 analysis requires Pure Storage to demonstrate that the

patent claims are directed to an “abstract idea,” i.e., an “idea of itself” or “fundamental truths or

fundamental principles the patenting of which would pre-empt the use of basic tools of

scientific and technological work.” Alice, 134 S. Ct. at 2355. Pure Storage fails to do so here.

Instead, Pure Storage applies a sweeping, incorrect reading of §101 caselaw to an oversimplified

mischaracterization of the patented inventions. Under any fair characterization, the claims here are

patent-eligible under controlling law because they provide particular, technical solutions to

technical problems specific to compression of digital computer data.

               1.      Examining the patents confirms that they claim technological
                       solutions to technological problems, not abstract subject matter.

       Under the Supreme Court’s Alice framework, claims that “improve[] an existing

technological process” or “solve a technological problem in ‘conventional industry practice’” are

patent eligible. Alice, 134 S. Ct. at 2358. The Federal Circuit has applied these standards in several

controlling cases to uphold the patentability of claims challenged as abstract.

       In Finjan, the Federal Circuit affirmed the patent-eligibility of a software patent that

claimed “receiving” a computer program, “generating” a “security profile that identifies suspicious

code,” and “linking” the security profile to the computer program. Finjan, Inc. v. Blue Coat Sys.,

Inc., --- F.3d ---, 2018 WL 341882, at *2 (Fed. Cir. Jan. 10, 2018). The claim at issue did not

specify how to “identif[y] suspicious code.” Id. But the court rejected the argument that the claims

“do not sufficiently describe how to implement” any idea. Id. at *4. Instead, the court held that the

patent at issue in Finjan “constitutes an improvement in computer functionality.” Id. at *3.

       In Enfish, the Federal Circuit reversed a patent-ineligibility ruling on a database patent,

which the district court described as being directed to the abstract idea of “storing, organizing, and

retrieving memory in a logical table.” Enfish, LLC v. Microsoft Corp, 822 F.3d 1327, 1337 (Fed.



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Cir. 2016). The court held that “describing the claims at such a high level of abstraction and

untethered from the language of the claims all but ensures that the exceptions to §101 swallow the

rule.” Id. The Federal Circuit further criticized the district court’s analysis because it “downplayed

the invention’s benefits” disclosed in the specification. Id. at 1337–38. Because the claims were

“designed to improve the way a computer stores and retrieves data in memory,” they were

“directed to a specific implementation of a solution to a problem in the software arts” and, thus,

“not directed to an abstract idea.” Id. at 1339.6

       In Visual Memory, the claims recited “memory” and “processor” with “operational

characteristics” which “determines a type of data.” Visual Memory LLC v. Nvidia, 867 F.3d 1253,

1257 (Fed. Cir. 2017). Here, the court rejected defendant’s argument that the claims “are directed

to no more than a desired result” or that the patent claims “nothing more than a black box.” Id. at

1260-61. The court cautioned against over-simplifying the claims, and held that they were directed

to “improvements to computer functionality” as opposed to “economic or other tasks for which a

computer is used in its ordinary capacity.” Id. at 1258-1261.7

       As in Finjan, Enfish, DDR, and Visual Memory, the claimed inventions here provide

particular technological solutions to overcome technological problems specific to the field of

digital-data compression. The patents themselves state they are directed to problems unique to the

realm of digital data, a form of data “not easily recognizable to humans in native form.” (E.g., ’908


6
  Similarly, in DDR, the claims addressed “the problem of retaining website visitors.” DDR v.
Hotels.com LP, 773 F.3d 1245, 1257 (Fed. Cir. 2014). The court held that these claims “stand
apart” from abstract claims “because they do not merely recite the performance of some business
practice known from the pre-Internet world along with the requirement to perform it on the
Internet.” Id. Instead, “the claims recite[d] an invention that is not merely the routine or
conventional use of the Internet.” Id. at 1259. Thus, they were eligible because the patented claims
were “necessarily rooted in computer technology in order to overcome a problem specifically
arising in the realm of computer networks.” Id.
7
  IOENGINE, LLC v. Interactive Media Corp., No. CV 14-1571-GMS, 2017 WL 67938, at *1 (D.
Del. Jan. 4, 2017) (“courts ‘must be careful to avoid oversimplifying the claims’ by looking at
them generally and failing to account for the specific requirements of the claims.”).

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Patent at 1:22-56; ’728 Patent at 1:52–67.) In this realm, the patents describe using a combination

of particular steps or structural computer components to help improve detection and exploitation

of redundancies, for example, in the incoming strings of computer “1s” and “0s.”

       Like the inventions in Finjan, Enfish and Visual Memory, the patents teach specific

improvements to the function of the computer parts themselves, such as computer memory and

computer-data storage and retrieval mechanisms. For example, the ‘728 and ‘203 Patents describe

various problems in the conventional art, including the “content sensitive behavior” of various

compression techniques and the “extremely large number of application programs” and data types

or content. (E.g., ‘728 Patent at 2:29-3:19.) The ‘728 and ‘203 Patents solved these problems by

providing systems utilizing two digital-data compression techniques (e.g., content dependent and

content independent) to compress/decompress data blocks based on analysis of the specific content

of data. And the patents overcame the issue of relying solely on a descriptor (e.g., file extensions

such as “.doc,” “.txt,” etc.) by requiring a direct examination of the digital-data payload rather than

examining just the descriptor. (E.g., ‘728 Patent claim 1.) Similarly, the ‘908 Patent solved

problems in the conventional digital data compression arts by providing systems utilizing two

different encoders. (E.g., ‘908 Patent claim 1.) And the ‘751 Patent solved problems in the

conventional digital-data compression by utilizing a state machine to compress data blocks based

on an analysis of the specific content of the data being encoded. (E.g., ‘751 Patent claim 1.) The

claimed solutions are not abstract. They are necessarily rooted in computer technology and aimed

at solving limitations in then-existing digital-data compression.

       In fact, applying the Federal Circuit’s analysis, Realtime’s patents present a clearer case of

subject-matter eligibility than those held eligible in DDR. In that case, after analyzing the claimed

inventions, which were directed to the “look and feel” of websites, the court held that, although




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“the [asserted] claims do not recite an invention as technologically complex as an improved,

particularized method of digital data compression,” they were nonetheless patent eligible. DDR,

773 F.3d at 1259. The claims here thus present precisely the type of invention the Federal Circuit

recognized as unquestionably patent eligible—particularized systems and methods of digital data

compression. Indeed, applying the Supreme Court and Federal Circuit precedents, the court in

Texas repeatedly held that the patents are §101 eligible. (Ex. 1-3.)

       2.      Pure Storage’s flawed arguments mischaracterize the law and the claims.

               a.      Pure Storage’s arguments regarding the ‘728/‘203 Patents are flawed.

                       i.      Pure Storage mischaracterizes the claims.

       Pure Storage oversimplifies the claims in arguing that the ‘728/‘203 Patents are directed to

“analyzing data and processing data based on the analysis” (Mot. at 6) which it claims are

“methods for manipulating data that ‘humans have always performed’” (Mot. at 7.) As the Federal

Circuit has repeatedly cautioned, “describing the claims at [] a high level of abstraction and

untethered from the language of the claims all but ensures that the exceptions to §101 swallow the

rule.” Enfish, 822 F.3d at 1337. Pure Storage pursues the very reductionism that courts caution

against. Id.8 Pure Storage’s mis-framing of the patented inventions is contradicted by the patent

specifications and the claims, which make clear the claims are directed to particular digital-data

compression systems. Indeed, even the key, summary-form aspects of the inventions are directed

to technological solutions: systems of digital data compression/decompression utilizing two

encoders (e.g., content dependent and content independent) to compress/decompress data blocks

based on an analysis of the specific content of the data.


8
  Verint Sys. Inc. v. Red Box Recorders Ltd., 226 F. Supp. 3d 190, 192 (S.D.N.Y. 2016) (“Many
recent motions seeking determinations of patent ineligibility suffer from such reductionist
simplicity—from characterizing as simply a mousetrap that which is in fact a better mousetrap.
Courts faced with such motions must scrutinize reductive descriptions with great care.”).

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       In arguing that “humans have always performed” the patented inventions (Mot. at 7) or

that the claims are purportedly “silent as to how to achieve” anything (Mot. at 9), Pure Storage

ignores key aspects of the various claims, including, e.g., (1) “content dependent data compression

encoders,” (2) “single data compression encoder,” (3) “processor … configured” as recited, (4)

“identify … parameters or attributes of the data,” (5) analysis that “excludes analyzing based solely

on a descriptor,” (6) “data decompression engine,” (7) “data packets comprise header containing

control information,” (8) “data tokens of the data packet,” (9) “content independent data

compression,” among others. E.g., ‘728 Patent claim 1; ‘203 Patent claim 1. Using literary

“abbreviations” or “scientific notation” (Mot. at 7) is not the same as “compression,” much less

the same as the particularized digital data compression claimed in the asserted patents. Pure

Storage’s far-fetched argument that “humans have always performed” the claimed inventions or

that “people can and do” (Mot. at 7) what is claimed fails.9

       Pure Storage’s assertion that the ‘728 and ‘203 Patents do not “improve[] the functioning

of the computer itself” or merely “implement[] an old practice in a new environment” (Mot. at 9)

is incorrect. The patents claim specific improvement in computer capabilities—e.g., improving the

ability to more effectively compress/decompress digital data so as to increase the capacity of a

computer system to store more data or to transfer data more efficiently.10 That is not an old practice

implemented in a computer environment. Rather, the patented inventions are technological

solutions to technological problems.

                       ii.     Pure Storage mischaracterizes the applicable law.

       Pure Storage’s arguments are premised on its sweeping and incorrect generalization that


9
  Indeed, a defendant in the related Commvault case does not even make this far-fetched argument.
See DE Case No. 17-cv-925-GMS, D.I. 14 at 1-20.
10
   Indeed, the Texas court expressly held as such. Ex. 1 at 7 (“The ’728 Patent is directed to patent
eligible subject matter because it discloses a specific improvement in computer capabilities”).

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patents that are about “information analysis and processing” are all abstract (Mot. at 6-9). For

example, the patents disclose compression techniques such as Lempel-Ziv, Huffman coding, data

compaction, and data null suppression (e.g., ‘728 Patent at 12:56-60), and, according to Pure

Storage, all such compression techniques “mentioned in the patent” are patent ineligible and

“nothing more than abstract mathematical steps applied to binary numbers” (Mot. at 8).11 Pure

Storage’s argument contravenes §101 legal standard.

        As the Federal Circuit in Finjan, Enfish, and Visual Memory explained, the law draws a

line of distinction between patent claims in which “computers are invoked merely as a tool” (which

may be patent ineligible) and patent claims that provide technological solutions to technological

problems (e.g., “improvement in computer capabilities,” which are patent eligible). Enfish, 822

F.3d at 1335-36; Visual Memory, 867 F.3d at 1258-59.12

        Applying that law here requires rejection of Pure Storage’s argument. Although Pure

Storage seeks to blur and dramatically expand the boundaries of what is “abstract,” here, it is not

the mere fact that the asserted patents are in the digital domain that is relevant; rather, it is the fact

that the problems that gave rise to Realtime’s inventions are rooted in digital computer

technologies, and also that the solutions provided in Realtime’s inventions are improvements on

the computer capabilities—e.g., increasing the capacity of a computer system to store more data

or to transfer data more efficiently. (See supra at §IV.A.2.a.i.) Indeed, the claims at issue here are

more clearly about technological solutions to technological problems than the claims held patent-



11
   Pure Storage’s citations to extrinsic publications (e.g., Mot. at fn.34 and fn.74) are improper in
a motion to dismiss. And in any event, they raise factual issues, precluding dismissal here.
12
   See also McRO, 837 F.3d at 1315 (rejecting argument that inventions “simply use a computer
as a tool” and holding patents eligible because claims “focused on a specific asserted improvement
in computer animation, i.e., the automatic use of rules of a particular type.”); DDR, 773 F.3d at
1257 (holding that patent is eligible because it “is necessarily rooted in computer technology in
order to overcome a problem specifically arising in the realm of computer networks.”); Alice, 134
S. Ct. at 2358 (patent eligible if it “improved an existing technological process”).

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eligible in Finjan, which involved a software patent that claimed “receiving” a computer program,

“generating” a “security profile that identifies suspicious code,” and “linking” the security profile

to the computer program. Finjan, --- F.3d ---, 2018 WL 341882, at *2.

       The cases Pure Storage cites are inapposite. For example, RecogniCorp, LLC v. Nintendo

Co. involved an invention that “does not even require a computer; the invention can be

practiced verbally.” 855 F.3d 1322, 1328 (Fed. Cir. 2017). The claim in RecogniCorp was akin

to “Paul Revere’s ‘one if by land, two if by sea’ signaling system.” Id. at 1326. In contrast, the

claims at issue here require a computer and cannot be “practiced verbally”; instead, they are

directed to technological improvements in digital-data compression. Digitech Image Tech. LLC v.

Electronics for Imaging, Inc., 758 F.3d 1344 (Fed. Cir. 2014) involved a patent that claimed

“signals” that were transitory and “ethereal” (id. at 1349-50) or a mathematical formula. In

Electric Power, the court held ineligible a claim directed to the abstract idea of collecting and

displaying information limited to field of power grids, where those claims were “mental process.”

830 F.3d at 1356.13 The claims at issue here are nothing like the claims at issue in the cases cited


13
   Other cases cited by Pure Storage are similarly inapposite. Intellectual Ventures I LLC v. Capital
One Fin. Corp., 850 F.3d 1332 (Fed. Cir. 2017) involved a case where computer was used merely
as a tool, i.e. to “restrict the invention’s field of use.” 850 F.3d at 1340. Moreover, Intellectual
Ventures involved organizing data that was “human- and machine-readable.” Id. at 1338. In
contrast, data at issue in the asserted patents are digital data—i.e., data that is “not easily
recognizable to humans.” ‘728 Patent at 1:52-54; see also, e.g., In re TLI, 823 F.3d 607 (Fed. Cir.
2016) (claims directed to the idea of classifying and storing images in an organized manner, which
is merely a method of “organizing human activity”); Cyberfone Sys., LLC v. CNN Interactive Grp.,
558 F. Appx. 988, 992 (Fed. Cir. 2014) (“collecting information in classified form, then separating
and transmitting that information according to its classification”); Content Extraction v. Wells
Fargo Bank, 776 F.3d 1343 (Fed. Cir. 2014) (claims directed to processing “hard copy
documents”); TDE Petroleum Data Sol., Inc. v. AKM Ent., Inc. 657 Fed. Appx. 991 (Fed. Cir.
2016) (claims directed to gathering and processing data about a “well operation”); Two-Way Media
Ltd. v. Comcast Cable Comm., LLC, 874 F.3d 1329, 1337 (Fed. Cir. 2017) (claims directed to
“sending,” “directing,” and “monitoring” information); Intellectual Ventures I LLC v. Symantec
Corp., 838 F.3d 1307 (Fed. Cir. 2016) (“the claim here is ‘not directed to a specific improvement
to computer functionality. Rather, [it is] directed to the use of conventional or generic technology
in a nascent but well-known environment,” i.e., email screening); Affinity Labs v. Amazon.com,
838 F.3d 1266 (Fed. Cir. 2016) (claims directed to delivering music content); buySAFE v. Google,
Inc., 765 F. 3d 1350, 1355 (Fed. Cir. 2014) (“creating a contractual relationship—a ‘transaction

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by Pure Storage—e.g., the asserted patents do not claim laws of nature, mathematical formula,

ethereal signals, mental process, contractual relationships, or any other abstract idea.

               b.      Pure Storage’s arguments regarding the ‘751 Patent are flawed.

       Pure Storage makes similar, faulty arguments regarding the ‘751 Patent,14 and they fail for

the reasons set forth above for the ‘728 and ‘203 Patents. Pure Storage argues that the asserted

claims “merely recite results” (Mot. at 14-15). That argument has been rejected. In Amdocs, the

district court held that patent claims reciting various functions such as “collecting,” “storing,” and

“outputting” data were ineligible under §101. Amdocs (Israel) Ltd. v. Openet Telecom, Inc. 841

F.3d 1288, 1293 (Fed. Cir. 2016). Applying Supreme Court precedent, the Federal Circuit

reversed. After analyzing the patent specification, it held that the claims were not abstract and

therefore were patent-eligible because they provided a technological solution to a technological

problem, namely, “massive record flows.” Id. In so doing, the court rejected the argument Pure

Storage now makes. After discussing past §101 precedent in great detail, the court stated:

       “[t]he dissent offers a different paradigm for identifying an abstract idea … that a desired
       goal (i.e. result or effect), absent structural or procedural means for achieving that goal, is
       an abstract idea... We commend the dissent for seeking a creative way of incorporating
       aspects of well-known doctrine [in other areas of patent law] in the search for what is an
       ‘abstract idea,’ but that it not now the law, either in statute or court decision.” Id.

The “result-based” argument was similarly rejected in Visual Memory, 867 F.3d at 1260-61, and

Finjan, 2018 WL 341882, *4. For instance, Finjan involved a patent that claimed “identif[ying]

suspicious code” without specifying how such identification was done. Id. at *2. The Federal



performance guaranty’”); FairWarning IP v. Iatric Sys., Inc., 839 F.3d 1089 (Fed. Cir. 2016)
(patent about “detecting improper access of a patient’s protected health information”);
Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 714–17 (Fed. Cir. 2014) (claims applying exchange
of advertising for copyrighted content to the Internet).
14
   Pure Storage is incorrect that “[t]he ‘751 Patent is related to the ‘728 and ‘203 Patents” (Mot. at
13). The ‘751 Patent is not related (i.e., not in the same patent family or share the same written
description) to the ‘728 or ‘203 Patents. The ‘751 Patent is in the same patent family as Pat. No.
8,717,204, which the Texas court ruled is patent eligible. (Ex. 1 at 18-22.)

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Circuit nevertheless rejected defendant’s argument that the claims at issue “do not sufficiently

describe how to implement that idea.” Id. at *4. And the Texas court rejected this argument for the

asserted and related patents. (Ex. 1.)

       Pure Storage’s argument also ignores the actual character of the claims, as they amply

provide details regarding how results are achieved. For example, claim 1 of the ‘751 Patent

describes “analyzing content … that excludes analyzing based solely on reading a descriptor,”

“selecting an encoder associated with the identified parameter…,” and “utilizing a state

machine,”15 among other details. In other words, the claims provide specific structures and specific

ways to perform the functionalities. Pure Storage’s argument fails legally and factually.

               c.      Pure Storage’s arguments regarding the ‘908 Patent are flawed.

       Pure Storage’s arguments regarding the ‘908 Patent merely recycle its arguments regarding

the other patents in a perfunctory manner (Mot. at 18-19). That is a far cry from meeting its burden

by clear and convincing evidence. Pure Storage’s argument fails for the same reasons as set forth

above for the ‘728, ‘203, and ‘751 Patents.

       Pure Storage’s assertion that the ‘908 Patent claims “a process that people can perform

with pen and paper” ignores the actual limitations of the claims, including, e.g., “memory device,”

“data accelerator,” “provid[ing] a first compressed data block,” and two different compression

techniques, among others. Moreover, courts have held the “pen and paper” arguments inapplicable

and unhelpful. For example, the Federal Circuit Judge Bryson, sitting by designation, held patent

claim to be eligible where the claims “involve[d] a several-step manipulation of data that, except



15
   Pure Storage points to dictionary definitions (Mot. at 16, fn.74) to argue that a “state machine”
is purportedly “conventional.” As an initial matter, the dictionaries are extrinsic publication
improper to consider here. And in any event, the relevant issue here is not whether “state machine”
in isolation is conventional. Pure Storage provides nothing other than ipse dixit to support any
argument that the combination of elements as recited in the claims are conventional.

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perhaps in its most simplistic form, could not conceivably be performed in the human mind or with

pencil and paper.” TQP Dev., LLC v. Intuit Inc., 2014 WL 651935, at *4 (E.D. Tex. Feb. 19, 2014).

Similarly, the claimed digital data compression techniques “could not conceivably be performed

in the human mind or with pencil and paper.” Id. An ordinary system of digital data compression,

let alone the particular patented inventions here, would be impossible to perform in the human

mind or by pencil and paper.16 This is why courts have held that this analysis is “unhelpful for

computer inventions” and “mislead[s] courts into ignoring a key fact: although a computer

performs the same math as a human, a human cannot always achieve the same results as a

computer.” Cal. Institute of Tech. v. Hughes Commcn’s Inc., 59 F. Supp. 3d 974, 994-995 (C.D.

Cal. Nov. 3 2014). In short, Pure Storage’s arguments are misplaced. Indeed, the patents

themselves refute Pure Storage’s flawed argument: “digital data is … not easily recognizable to

humans in its native form.” ‘908 Patent at 1:35-37.

       Pure Storage’s argument regarding “result-based” claiming is legally flawed (as explained

above), and is also factually erroneous. For example, ‘908 Patent claim 1 provides limitations that

teach how the invention works; it recites a “data accelerator” that is configured as claimed,

including having the capability to use two different compression techniques. The argument that

the claims are as “abstract as ‘two compressions are better than one” (Mot. at 19) was the precise

argument rejected by another court in denying §101 motion on the ‘908 Patent.17

       In sum, the asserted claims can only be read as providing technological improvements and

solutions specific to digital data compression and are not abstract. At the very least, this Court



16
   Notably, a defendant in the related Commvault case does not even make the far-fetched “pen
and paper” or “human mind” argument. See DE Case No. 17-cv-925-GMS, D.I. 14 at 1-20.
17
   Ex. 3 at 1-2 (“Defendants contend … the patents at issue are directed to the abstract idea ‘that
two compression techniques are better than one.’ … The Court is not persuaded by Defendants’
oversimplification”).

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must accept all the allegations of the complaint and descriptions of the claimed inventions from

the intrinsic record as true, and drawing all reasonable inferences in favor of Realtime, deny Pure

Storage’s motion. As others have held, the asserted patents are not abstract. (Ex. 1-3.)

       B.      Pure Storage Also Cannot Establish That the Claims Are Patent Ineligible
               Under Alice Step 2.

       Because Pure Storage cannot meet its burden under step 1 of the Alice framework, the

inquiry ends there and step 2 need not be addressed. But even if Alice step 2 needs to be considered,

Pure Storage’s motion still fails because it also cannot meet its burden under step 2.

               1.      Under any reasonable characterization, the patented claims include
                       limitations that are unconventional.

       Alice step 2 requires examination of the claim elements “both individually and ‘as an

ordered combination.’” Alice, 134 S. Ct. at 2355. A defendant cannot prevail on this step simply

by showing that individual claim elements are “known in the art” or conventional. Bascom Glob.

Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1349–50 (Fed. Cir. 2016). Indeed, “an

inventive concept can be found in the non-conventional and non-generic arrangement of known,

conventional pieces.” Id. at 1350.

       For example, Bascom involved a patent for “filtering Internet content.” The district court,

in concluding that the claims lacked inventive concept, “looked at each limitation individually,”

found that that the limitations “local client computer,” “remote ISP server,” “Internet computer

network,” and “controlled access network accounts” were described as “well-known generic

computer components.” 827 F.3d at 1349. The Federal Circuit, however, rejected this analysis and

reversed the district court. Although the individual limitations recited “generic computer, network

and Internet components,” the court held that the claims nonetheless reflected an inventive concept

because they “recite[d] a specific, discrete implementation of the abstract idea of filtering content.”

Id. at 1350. Indeed, the court further held that while “[f]iltering content on the Internet was already


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a known concept, [] the patent describes how its particular arrangement of elements is a technical

improvement over prior art ways of filtering such content.” Id.18

       As in Bascom and Amdocs, the elements of the claims here, when properly examined as an

ordered combination, recite more than well-understood, routine, conventional activities. The

inventive concept is readily apparent from the claims and patent specifications, which describe the

problems in the prior art and explain how the claimed inventions solve these problems.

       The ’728/‘203 Patents address the prior art problems, including: “their content sensitive

behavior...often referred to as data dependency”; “significant variations in the compression ratio

obtained when using a single lossless data compression technique for data streams having different

data content and data size”; “extremely large number of application programs, some of which do

not possess published or documented file formats, data structures, or data type descriptors”; “rate

at which new application programs are developed and the need to update file format data

descriptions.” (’728 Patent at 2:7–3:55.) To solve these issues, the ‘728/‘203 Patent claims

required an unconventional combination of elements. For example, ‘728 Patent claim 1 required:

(a) “content dependent data compression encoders”; (b) a different “single data compression

encoder”; (c) a processor configured to (d) “analyze data within a data block to identify one or

more parameters or attributes of the data”; (e) “the analyzing ... excludes analyzing based solely

on a descriptor”; (f) “to perform content dependent data compression ... if the one or more

parameters or attributes of the data are identified”; and (g) otherwise “to perform data compression

with the single data compression encoder.”

       The ’908 Patent addresses problems in digital-data compression, including: “high


18
   Similarly, in Amdocs, the Federal Circuit upheld claims that recited “arguably generic
components, including network devices and ‘gatherers’ which ‘gather’ information,” because the
“generic components operate in an unconventional manner to achieve an improvement in computer
functionality.” 841 F.3d at 1300–01.

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performance disk interface standards … offer only the promise of higher data transfer rates through

intermediate data buffering in random access memory”; “[f]aster disk access data rates are only

achieved by the high cost solution of simultaneously accessing multiple disk drives with a

technique known within the art as data striping”; “problems with bandwidth limitations … by all

other forms of sequential, pseudorandom, and random access mass storage devices.” (’908 Patent

at 2:20–54.) To address these, the claims require unconventional combination of elements, e.g.:

(a) “a data accelerator” with two different compression techniques; (b) “a memory device”; (c)

where the accelerator is configured to compress two data blocks; (d) including “a first data block

with a first compression technique”; and (e) a “second data block with a second [and different]

compression technique.” (Id. 18:50-62.) The accelerator is unconventional, as it requires two

different compression techniques and the structural capability of compressing and storing digital

data faster than the digital data can be stored in uncompressed form.

       The ’751 Patent addresses specific problems in the prior art, including: “latency induced

by the act of encryption, compression, decryption, and decompression”; “substantial latency

caused by aggregating data packets due to poor data compression efficiency and packet overhead”;

capacity transmission limitations using existing T1 lines; “[t]he limitation of highly significant

bandwidth and/or long delays with co-location processing and long latency times.” (’751 Patent at

1:40–5:22.) The ’751 Patent solves these problems by an unconventional compression system to

provide a multiplication of bandwidth and a reduction in transmission latency. (Id. at 5:28–29,

6:13–19.) Claim 1 requires, e.g.,: (a) “identif[ying] a parameter, attribute, or value of the data

block,” (b) analysis “that excludes analyzing based solely on reading a descriptor,” (c) “selecting

an encoder associated with the identified parameter, attribute, or value”; (c) “compressing data …

with the selected encoder … utilizing a state machine”; (d) “storing compressed data block”; and




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(e) wherein “the time of the compressing the data block and the storing the compressed data block

is less than the time of storing the data block in uncompressed form.”

       In sum, the claimed inventions here do not merely recite well-understood, routine,

conventional activities but, instead, are necessarily rooted in computer technology and provide a

technological solution that improves computer functionality and overcome a problem specifically

arising in the realm of compression of digital computer data. The patents amount to “significantly

more” than simply claiming an abstract idea and are therefore patent-eligible. The asserted claims

present an even clearer case of patent-eligibility than claims expressly approved by the Federal

Circuit. E.g., DDR, 773 F.3d at 1259; Finjan, --- F.3d ---, 2018 WL 341882, *2.

               2.     Pure Storage’s arguments under step 2 are based on attorney
                      arguments that not only rely on a misapplication of controlling law,
                      but are also contradicted by the patents themselves.

       For step 2, Pure Storage pursues the same flawed analysis rejected by the Federal Circuit

in Bascom and Amdocs, as well as the Texas court in ruling that the asserted and related patents

are patent eligible. (Ex. 1.) Pure Storage asserts that the patents lack inventive concept because

individual claim elements purportedly recite “conventional” or “generic” components. (Mot. at 9-

10, 15-16, 19.) But the fact that some of the individual claim limitations may be performed using

known components does not render them ineligible. Bascom, 827 F.3d at 1350 (“inventive concept

can be found in the non-conventional and non-generic arrangement of known, conventional

pieces.”). Moreover, the claimed components are not generic. As discussed above, the processor

recited in claim 1 of the ’728 Patent must be specially configured to perform the recited, non-

conventional functions, including analyzing which “excludes analyzing based solely on a

descriptor,” and performing compression with a plurality of different encoders based on that

analysis. Moreover, performing analysis that “excludes analyzing based solely on reading a

descriptor” and using a “state machine” to achieve less time performance, as described in claim 1


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of the ‘751 Patent is unconventional, as is using two different compression techniques to achieve

faster performance as recited in claim 1 of the ‘908 Patent. The patents themselves confirm the

unconventional nature of the inventions. At best, Pure Storage’s “non-inventive” arguments are

based on sheer attorney argument. That is not sufficient to satisfy its burden on its motion.19

       Furthermore, Pure Storage’s argument that “ordering of the elements” is not inventive

discusses the claims stripped of key limitations (Mot. at 11, 15-16). For example, Pure Storage

fails to discuss limitations such as, e.g., “excludes analyzing based solely on a descriptor” and

“content dependent data compression,” among others. Indeed, the patents specifically explain the

problems associated with using analysis based solely on a descriptor (e.g., file extensions). See

‘728 Patent at 3:2-19. And its argument regarding the ‘908 Patent is just a few lines of generalities

without discussion of specific limitations. (Mot. at 19.) Pure Storage’s failure to examine even one

asserted claim as a whole is fatal to its motion. A proper §101 analysis shows that the claims recite

specific, discrete implementations of digital data compression, and the recited claim elements

“operate in an unconventional manner to achieve an improvement in computer functionality.”

Amdocs, 841 F.3d at 1300–01. Indeed, the Court “must take the specification’s statements about

the purported invention to be true,” and is “not free to accept [defendant’s] contrary attorney

argument” that the claims are directed to conventional means.20 At the very least, this is a factual

question that requires denying Pure Storage’s motion.

                       3.      The claims do not preempt use in all fields.

       Even assuming the claims were directed solely to Pure Storage’s purported abstract idea of

“analyzing data and processing data based on the analysis” (Mot. at 6, 14, 18), Pure Storage cannot


19
   See, e.g., Estee Lauder v. L’Oreal, 129 F.3d 588, 595 (Fed. Cir. 1997) (“Arguments of counsel
cannot take the place of evidence lacking in the record.”).
20
   MAZ Encryption Techs. LLC v. Blackberry Corp., 2016 WL 5661981, *5 (D. Del. Sept. 29,
2016); Bascom, 827 F.3d at 1352 (patents and facts are “construed in favor of [the patentee]”).

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show that the claims preempt all such idea. In fact, Pure Storage does not even make this argument,

and instead argues about “parameters or attributes” (Mot. at 6). Pure Storage cannot spend the

entirety of its motion oversimplifying the claims to argue that they are directed to one purported

abstract idea, and then switch gears to argue that they preempt a different idea. By doing so, Pure

Storage essentially admits that the claims do not preempt its alleged abstract idea.

        In any event, the claims do not preempt all mechanisms for compressing data. For

example, not every compression techniques includes “a data accelerator” or two different

compression techniques to achieve faster performance. (See, e.g., ’908 Patent claim 1.) Nor does

every application of digital-data compression techniques include “analyz[ing]…excludes

analyzing based only on a descriptor,” “content dependent” and “content independent” techniques

(e.g.,’728 Patent claim 1; ‘203 claim 1). And, not every application of digital-data compression

techniques requires selecting an encoder associated with an identified parameter, attribute, or value

of the data, and compressing the data utilizing a state machine to achieve a “less time” performance

(e.g., ‘751 Patent claim 1). The patents here claim “specific invention[s] that did not monopolize

an abstract idea.” (Ex. 1, e.g., at 16.)

        C.      Pure Storage’s “Remaining Claims” Shortcuts Also Fail.

        Pure Storage’s motion should be denied also because it provides no clear and convincing

evidence that all of the claims of the asserted patents (totaling 133 claims) are ineligible. Pure

Storage merely provide conclusory attorney arguments asserting that some claims are “analogous”

to a couple of the claims that it had mentioned (see Mot. at 12, 17, 20). That is neither clear nor

convincing evidence. Pure Storage’s citation to Content Extraction (Mot. at 12) does not help meet

its burden. Moreover, Content Extraction is inapposite because the plaintiff there “never asserted

in its opposition to [defendant’s] motion that the district court should have differentiated any claim

from those identified as representative” 776 F.3d at 1348.


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       For some other claims, Pure Storage merely isolates certain limitations to argue that they

purportedly merely claim “results” or are “conventional” (Mot. at 12, 17, 20). Pure Storage’s

argument fails for the same reason as set forth above, e.g., Pure Storage ignores the actual

limitations set forth in the claims. McRO, 837 F.3d at 1313; Bascom, 827 F.3d at 1350 (“The

inventive concept inquiry requires more than recognizing that each claim element, by itself, was

known in the art.”). Pure Storage cannot show that all 133 patent claims are ineligible under any

standard, let alone the heightened standards on a motion to dismiss.21

       Moreover, any reasonable interpretation of the claim language would demonstrate that the

claims are limited to digital data compression and cannot be performed with pen and paper.

Accordingly, claim construction would further illuminate the eligibility of the patents.

       Further, “patent eligibility under §101 presents an issue of law … contain[ing] underlying

factual issues.” Accenture Global Servs., 728 F.3d at 1340-41. In order to rule for Pure Storage,

the Court will have to first resolve several disputed issues of material fact, including: (a) the core

aspects of the patented inventions; (b) whether the claimed inventions can be performed with

pencil and paper; (c) whether the claimed inventions are merely generic or standard

implementations of abstract ideas; and (d) whether all additional claim limitations are well

understood, routine, or conventional. See supra. There will likely be subsidiary issues of fact

relevant to each issue as well. Viewing these and other facts in a light most favorable to Realtime

precludes any dismissal at this stage. Bell Atl. Corp., 550 U.S. at 555.




21
  The claims unaddressed by Pure Storage provide numerous other limitations and combinations,
including, e.g., “data descriptors,” “disk interface,” “dictionary compression,” “serial
configuration,” “real-time,” “TCP/IP,” “UDP Packets,” “packetized data stream,” “lossless”
encoders, “synchronization point,” “default data compression,” and numerous other limitations
arranged and combined in specific claimed ways. See ‘728, ‘203, ‘751, ‘908 claims.

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 January 25, 2018                        BAYARD, P.A.

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